Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 1 of 11 PageID #: 2111


                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

   JUAN LOZADA-LEONI                                   §
                                                       §
   V.                                                  §                No. 4:20CV68-RWS-CMC
                                                       §
   MONEYGRAM INTERNATIONAL,                            §
   INC. and MONEYGRAM PAYMENT                          §
   SYSTEMS, INC.                                       §


                                                      ORDER


           The above-referenced case was referred to the undersigned United States Magistrate Judge

   in accordance with 28 U.S.C. § 636. The following is pending before the Court:

           Defendants’ Objections to Plaintiff’s Application to Appear Pro Hac Vice
           (Docket Entry # 61).

   The Court, having considered the relevant briefing, is of the opinion the objections should be

   SUSTAINED.

                                               I. BACKGROUND

           This suit concerns the federal Sarbanes-Oxley Act of 2002 (“SOX”), “which protects those

   who blow the whistle on their employer’s failure to comply with Securities and Exchange

   Commission reporting requirements.” Wallace v. Andeavor Corp., 916 F.3d 423, 425 (5th Cir.),

   cert. denied, 140 S. Ct. 206 (2019). A complaint was originally filed by attorney Steve Kardell on

   behalf of Plaintiff Juan Lozada-Leoni (“Plaintiff”) against MoneyGram International, Inc. (“MGI”)

   in September 2017. Docket Entry # 61, Ex. 1.1 The Department of Labor investigated Plaintiff’s

   complaint and issued a determination on October 12, 2017, finding there “is insufficient evidence


           1
             Exhibit 1 is a September 28, 2017, letter from attorney Steve Kardell, representing Plaintiff, to the
   Occupational Safety and Health Administration (“OSHA”) Regional Administrator, asserting a formal complaint under
   Section 006 of the Sarbanes-Oxley Act of 2002.
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 2 of 11 PageID #: 2112


   to prove the complaint has merit.” Docket Entry # 61, Ex. 2.

            As was his right, Plaintiff elected to appeal the Department of Labor’s adverse determination

   and sought review in an administrative proceeding styled Juan Lozada-Leoni v. MoneyGram

   International, Case No. 2018-SOX-00004, before the United States Department of Labor and

   Administrative Law Judge Tracy R. Daly. Docket Entry # 61, Ex. 3. Mr. Kardell also filed Plaintiff’s

   original complaint in the administrative proceeding as counsel for Plaintiff. Id. at p. 22. Prior to the

   final hearing before Judge Daly, Plaintiff elected to remove the dispute from the administrative stage

   by filing the above-styled lawsuit on January 23, 2019. Mr. Kardell was the only attorney listed on

   the pleadings.2 Docket Entry # 1 at pp. 5-6.

            In his original complaint and First Amended Complaint, Plaintiff sued MGI, as well as Juan

   Manuel Gonzalez (“Gonzalez”) and Christopher Ponder (“Ponder”), two managers that were

   allegedly involved in Plaintiff’s termination. On April 11, 2019, MGI filed its motion to dismiss for

   improper venue, or alternatively, motion to transfer venue. Docket Entry # 5. That same day,

   Gonzalez and Ponder each filed a motion to dismiss pursuant to Rule 12(b)(1) and Rule 12(b)(6),

   asserting Plaintiff never filed an administrative complaint against them and thus failed to exhaust

   administrative remedies. Docket Entry #s 6, 7.

            On May 16, 2019, Plaintiff filed his Second Amended Complaint (“SAC”), dismissing

   Gonzalez and Ponder and adding MoneyGram Payments Systems, Inc. (“MPSI”) as a defendant,

   along with MGI (collectively “Defendants”). See Docket Entry # 21. According to the SAC, Plaintiff

   began work as a Senior Manager for the U.S. Regional Compliance Team for MPSI on October 18,



            2
               On March 20, 2019, Robert Weber and the law firm of Smith Weber, L.L.P., entered an appearance as
   counsel for Plaintiff. Docket Entry # 3. Following the Court's intra-district transfer from the Texarkana Division to the
   Sherman Division, Mr. Weber and his firm withdrew as counsel. Docket Entry # 59.

                                                              2
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 3 of 11 PageID #: 2113


   2016. SAC at p. 7, ¶ 24. Plaintiff alleges that during his tenure at MPSI, “MGI had knowledge of,

   yet ignored, suspicious activities of several of its largest agents, including Wal-Mart, Schnucks,

   SuperValu, RaceTrac, Valero and CVS.” Id., ¶ 29. Plaintiff alleges he witnessed compliance

   infractions and notified MGI management of those infractions, “but to no avail.” Id. at pp. 9-19.

   Plaintiff alleges he was retaliated against for his complaints about MGI’s illegal conduct. Id. at p.

   19. Plaintiff asserts Defendants violated the SOX by taking adverse employment actions against

   him, including, but not limited to, termination and other forms of retaliation, because of his protected

   conduct under 18 U.S.C. § 1514A. Id. at p. 22.

          On November 25, 2019, the undersigned recommended, among other things, Defendants’

   alternative motions to transfer under 28 U.S.C. § 1404(a) (Docket Entry #s 5-2, 23-2) be granted and

   that the above-entitled and numbered cause of action be transferred to the Sherman Division of

   Eastern District of Texas. Docket Entry # 48. On January 28, 2020, District Judge Schroeder adopted

   the November 25, 2019 report and transferred the case to the Sherman Division while maintaining

   the same assignment of judicial officers. Docket Entry # 53 at p. 4.

          On February 24, 2020, attorney Theodore Garber filed an Application to Appear Pro Hac

   Vice on behalf of Plaintiff. Docket Entry # 57. Mr. Garber is an associate in the “Law Office of Juan

   Antonio Lozada, PLLC.” Id. at p. 2. The application was approved for the Court by a deputy clerk

   the same day. Id. Mr. Garber is reflected on the Court’s docket as counsel of record for Plaintiff.

   Defendants have no objection to Mr. Garber’s representation of Plaintiff and have been working with

   him (and now-former counsel Mr. Kardell) to schedule certain depositions Plaintiff had asked to

   take. Docket Entry # 61 at p. 4.

          On March 11, 2020, Plaintiff filed his own Application to Appear Pro Hac Vice. Docket

   Entry # 60. At the time, Plaintiff was represented in the lawsuit by lead counsel Steve Kardell and

                                                      3
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 4 of 11 PageID #: 2114


   by Mr. Garber, an associate in Plaintiff’s law firm.3

                                         II.DEFENDANTS’ OBJECTIONS

            On March 20, 2020, Defendants filed their objections to Plaintiff's application to appear pro

   hac vice, asserting a litigant has the right to represent himself or to be represented by counsel, but

   not the right to both. Docket Entry # 61 at p. 6. Defendants further argued that permitting “hybrid

   representation” in this case would violate Rule 3.08 of the Texas Disciplinary Rules of Professional

   Conduct, which provides that a “lawyer shall not accept or continue employment as an advocate

   before a tribunal in a contemplated or pending adjudicatory proceeding if the lawyer knows or

   believes that the lawyer may be a witness necessary to establish an essential fact on behalf of the

   lawyer’s client, unless . . . the lawyer is a party to the action and is appearing pro se[.]” Id. at p. 8

   (quoting TEX. RULES OF PROF’L CONDUCT r. 3.08; also citing E.D. Tx. L.R. AT-2(a) (“the standards

   of professional conduct adopted as part of the Rules Governing the State Bar of Texas shall serve

   as a guide governing the obligations and responsibilities of all attorneys appearing in this court.”)).

            As of the date of the filing of Defendants’ objections, Plaintiff’s application for pro hac vice,

   which was filed in the name of “Juan Antonio Lozada” had not been approved. "For reasons unclear

   to Defendants, however, Plaintiff [was] listed as counsel of record for himself on the Court’s

   docket."4 Id. at p. 4. A review of the docket at this time reveals Plaintiff’s application was approved

   for the Court by a deputy clerk on March 23, 2020, three days after Defendants’ objections were

   filed. The docket contains a notation indicating the original unapproved application erroneously

   filed by Plaintiff on March 11, 2020 (referenced in Defendants’ objections) was replaced by the

            3
            On April 15, 2020, the Court granted Mr. Kardell’s motion to withdraw as counsel of record for Plaintiff Juan
   Lozada-Leoni (Docket Entry # 73), leaving only Mr. Garber as counsel of record.

            4
              Apparently, the Court’s docketing system allows an attorney to add himself as counsel of record on the docket
   at the time of filing an approved application to appear pro hac vice, but in this instance Plaintiff was able to do so at the
   time he filed his original application which was later replaced by the docketing clerk.
                                                                4
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 5 of 11 PageID #: 2115




   approved application on March 23, 2020.5 Docket Entry # 60 at p. 2. Plaintiff remains listed as

   counsel of record for himself on the docket along with Mr. Garber.

            On April 7, 2020, Mr. Garber filed Plaintiff’s response to Defendants’ objections to

   Plaintiff’s application to appear pro hac vice. Docket Entry # 72. In the response, Plaintiff states he

   is “an experienced trial attorney with significant knowledge about the relevant facts of this case,”

   and “he was placed in this position by the unexpected departure of Mr. Bob Weber [sic], the only

   experienced trial attorney on his team.” Id. at p. 1. According to Plaintiff, it “became clear” after Mr.

   Weber’s withdrawal that “Mr. Kardell did not have the trial experience and expertise in handling this

   type of litigation without the assistance of Mr. Weber [sic].” Id. Plaintiff claims Mr. Garber, one of

   the associate attorneys at Plaintiff’s own law firm and the only remaining counsel of record, is “a

   competent attorney but he is not an experienced trial attorney like Mr. Weber [sic] was.” Id. at p. 2.

   Plaintiff asserts Plaintiff himself “is the best person to present the facts of this case to the jury during

   trial.” Although Plaintiff represents he will continue to look for a lead counsel, he further states that

   “in order to prevent wasting valuable time and resources, he is willing to act in that role if he is

   unable to find a replacement to Mr. Weber [sic] who is willing to come into the case so late into the

   litigation.” Id. at pp. 2-3. Plaintiff further states as follows:



            5
               E-mail correspondence obtained from the Clerk’s office reveals Plaintiff filed his original application on
   March 11, 2020, thus allowing Plaintiff to add himself to the docket as counsel at that time. On March 11, the docketing
   clerk emailed Plaintiff, notifying him the application contained the wrong case number at the top of page one (apparently
   the original Texarkana Division cause number from before the case was transferred to the Sherman Division and assigned
   a new cause number). The docketing clerk further advised Plaintiff the application was also missing the Deputy Clerk
   signature on page two.
             On March 18, 2020, Plaintiff emailed the Clerk’s office, attaching a pro hac vice application that had been
   approved for the Court on March 10, 2020. However, because the “approved” application still contained original case
   number 5:19cv11 instead of the new correct cause number (4:20cv68), the Clerk’s office emailed Plaintiff on March 19,
   notifying Plaintiff he would need to submit for approval a new application with the correct information. The pro hac vice
   application containing the correct cause number was approved for the Court on March 23, 2020, and the docketing clerk
   in the Sherman Division then docketed the correct application at Docket Entry # 60 (replacing the original application
   filed on March 11, 2020).
                                                              5
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 6 of 11 PageID #: 2116




           Admittedly, Mr. Lozada could proceed pro-se, however it would be unfair to force
           Mr. Lozada to only have the benefit of a single attorney while the defendant is able
           to use a team of attorneys from one of the largest law firms in the United States.
           Hybrid representation would allow Mr. Lozada to efficiently present the facts of this
           case while allowing Mr. Garber to assist him with the preparation and prosecution
           of the case. Rule 3.08 of the Texas Disciplinary Rules of Professional Conduct
           provides that a ‘lawyer shall not accept or continue employment as an advocate
           before a tribunal in a contemplated or pending adjudicatory proceeding if the lawyer
           knows or believes that the lawyer may be a witness necessary to establish as essential
           fact on behalf of the lawyer’s client, unless . . . the lawyer is a party to the action and
           is appearing pro se[.]’. . . . Rule 3.08 is saying that a lawyer can represent himself.

   Id. at p. 3.

           According to Defendants’ reply, regardless of Plaintiff’s dissatisfaction with his choice of

   counsel, “it is not a basis on which to permit hybrid representation in violation of the relevant

   disciplinary rules. Were that the case, the exception would swallow the rule, and a plaintiff-attorney

   would need only voice displeasure with counsel to circumvent the disciplinary rule and obtain

   ‘hybrid’ status.” Docket Entry # 80 at p. 4. Defendants further assert as follows:

           Again, Plaintiff’s choice of counsel is his, and his alone. If Plaintiff desired to be
           represented by a large law firm, he should have hired one to combat the perceived
           ‘unfairness,’ and he still could. Instead, he wants the Court to permit hybrid
           representation, which ‘would allow Mr. Lozada to efficiently present the facts of this
           case while allowing Mr. Garber to assist him with the preparation and prosecution
           of the case.’ . . . This argument is misplaced. There is no doubt that Plaintiff has
           ‘significant knowledge of the relevant facts in this case.’ . . . Plaintiff is thus fully
           capable of providing assistance to Garber – and to any other attorney he chooses to
           hire – in preparing for and conducting the trial of this matter. Plaintiff does not need
           to appear as counsel to provide this assistance or control trial strategy. He will be
           with his trial counsel the whole time.

                                                     ***

           Regarding Rule 3.08, he says only that ‘Rule 3.08 is saying that a lawyer can
           represent himself.’ True enough. However, to avoid violating his ethical duties, an
           attorney who wishes to represent himself must first decide to go it alone. If Kardell
           is permitted to withdraw, and if Plaintiff elects to terminate Garber and not replace
           either of them with a another law firm, large or small, Defendants concede that then,
           and only then, must the Court permit Plaintiff to proceed pro se. Unless and until all

                                                       6
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 7 of 11 PageID #: 2117




           of that occurs, though, the Court should sustain the Objections and deny Plaintiff’s
           Application or to engage in ‘hybrid representation’ of himself in this matter, whether
           in conducting discovery or participating at trial.

   Id. at pp. 4-5.

                                        III. LEGAL STANDARD

           “An applicant for admission pro hac vice who is a member in good standing of a state bar

   may not be denied the privilege to appear except on a showing that in any legal matter, whether

   before the particular district court or in another jurisdiction, he has been guilty of unethical conduct

   of such a nature as to justify disbarment of a lawyer admitted generally to the bar of the court.” In

   re Evans, 524 F.2d 1004, 1007 (5th Cir. 1975). Twenty-eight U.S.C. § 1654 provides: “In all courts

   of the United States the parties may plead and conduct their own cases personally or by counsel as,

   by the rules of such courts, respectively, are permitted to manage and conduct causes therein.”

   Andrews v. Schneider Logistics, Inc., No. 3:13-CV-2160-D, 2014 WL 7003799, at *1 (N.D. Tex.

   Dec. 11, 2014). Nevertheless, “a party seeking to assert his statutory right to self-representation must

   clearly and unequivocally discharge any lawyer previously retained. A party does not have a right

   to self-representation and representation by counsel at the same time.” Id. (quoting Iannaccone v.

   Law, 142 F.3d 553, 558 (2d Cir.1998)).

           District Judge Mazzant recently held in a civil case “there is no constitutional right to hybrid

   representations whereby the defendant and his attorney act as co-counsel.” Diamond Consortium,

   Inc. v. Manookian, No. 4:16-CV-00094-ALM, 2017 WL 2364039, at *1 (E.D. Tex. May 31, 2017)

   (quoting United States v. Long, 597 F.3d 720, 724 (5th Cir. 2010)). “[A] defendant does not have

   the right to a hybrid representation, in which he conducts a portion of the trial and counsel conducts

   the balance.” Carrier v. Trico Prod. Corp., No. 1:17-CV-248, 2018 WL 4963283, at *1 (S.D. Tex.


                                                      7
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 8 of 11 PageID #: 2118




   Sept. 17, 2018) (quoting United States v. Norris, 780 F.2d 1207, 1211 (5th Cir. 1986)).

                                           IV. DISCUSSION

          According to Defendants’ motion, District Judge Mazzant recently denied two attorney-

   litigants (Manookian and Cummings) permission to appear pro hac vice. Docket Entry # 61 at p. 9

   (citing Diamond Consortium, Inc. v. Manookian, et al., Civil Action No. 4:16-cv-00094-ALM,

   Docket Entry # 225). In that case, a diamond wholesaler, Diamond Consortium, Inc. d/b/a The

   Diamond Doctor, claimed that Mark Hammervold and his law firm, Hammervold PLC, conspired

   with attorneys Brian Manookian and Brian Cummings to tarnish its reputation and to force it to enter

   settlement agreements in violation of the Racketeer Influenced and Corrupt Organizations Act

   (“RICO”) and Texas civil conspiracy common law. Diamond Consortium, Inc. v. Hammervold, 737

   Fed. Appx. 194, 195 (5th Cir. 2018).

          As part of the underlying litigation, Diamond Doctor sought and obtained a protective order

   designating certain discovery materials “Attorneys’ Eyes Only” due to concerns that Hammervold

   and Manookian would publicize customer information. Id. On May 2, 2017, Manookian and

   Cummings filed an application to appear pro hac vice before the district court. Id. On May 9, 2017,

   Manookian and Cummings requested “the district court modify the protective order and remove the

   ‘Attorneys’ Eyes Only’ designation because the Attorney Defendants appeared as counsel in the case

   and were entitled to fully participate in their own defense.” Id. Diamond Doctor objected.

   Hammervold, Hammervold PLC, and Hammervold’s defense counsel, Varant Yegparian, then filed

   a motion seeking permission for Yegparian to withdraw as counsel and for Hammervold to take over

   as counsel for himself and Hammervold PLC. Id. at 195-96.

          On May 31, 2017, District Judge Mazzant entered two orders relevant here. In the first order,


                                                    8
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 9 of 11 PageID #: 2119




   Judge Mazzant denied Varant Yegparian, Mark Hammervold, and Hammervold PLC’s Motion for

   Withdrawal, Substitution of Counsel, and Designation of Lead Counsel. Diamond Consortium, Inc.

   v. Manookian, et al., Civil Action No. 4:16-cv-00094-ALM (Docket Entry # 224), 2017 WL

   2364038 (E.D. Tex. May 31, 2017), aff’d, 737 Fed. Appx. 194 (5th Cir. 2018). The district court

   denied the motion to withdraw, reasoning that Yegparian had failed to show good cause for

   withdrawal. Diamond Consortium, Inc. v. Hammervold, 737 Fed. Appx. 194, 196 (5th Cir. 2018).

   “The district court also denied Hammervold’s request to appear on behalf of Hammervold PLC,

   citing case law denying a similar request due to the advocate-witness rule.” Id. “Finally, the court

   acknowledged that Hammervold timely sought to appear pro se, but it denied the request because

   allowing him to represent himself would result in ‘hybrid representation.’”6 Id.

            In the second order, relied upon by Defendants in this case, Judge Mazzant ordered that

   Defendants Manookian and Cummings could not appear pro hac vice in the case. Diamond

   Consortium, Inc. v. Manookian, et al., Civil Action No. 4:16-cv-00094-ALM (Docket Entry # 225),

   2017 WL 2364039 (E.D. Tex. May 31, 2017). Diamond Doctor had objected to Manookian and

   Cummings appearing pro hac vice, asserting their appearance would result in hybrid representation



            6
               Mark Hammervold filed an interlocutory appeal, requesting the Fifth Circuit Court of Appeals reverse the
   district court’s denial of his motion to represent himself and his firm, Hammervold PLC. Diamond Consortium, Inc. v.
   Hammervold, 737 Fed. Appx. 194, 195 (5th Cir. 2018). Also implicit in the appeal was whether the district court erred
   in denying defense counsel’s motion to withdraw. Id. The Fifth Circuit affirmed. Id. Among other things, the Fifth Circuit
   affirmed the district court’s determination that the ethical concerns outweighed the corporation’s right to counsel and
   therefore it did not err in holding that Hammervold PLC must be represented by a licensed attorney other than
   Hammervold. Id. at 196-97.
             Noting Hammervold’s request to proceed pro se “was likely a tactical move to gain access to sensitive
   information Diamond Doctor sought to protect from Hammervold in particular,” the Fifth Circuit held the district court
   did not err when it denied Hammervold’s motion to proceed pro se. Id. at 197. The Fifth Circuit noted in a footnote the
   district court also discussed that Hammervold’s pro se representation would lead to prohibited “hybrid representation.”
   Id. at 197, n. 2. The Fifth Circuit refrained “from adopting the district court’s determination that Hammervold PLC is
   legally indistinguishable from Hammervold as an individual defendant. Instead, the court reiterate[d] the long-accepted
   principle that a corporation is separate from its shareholders, even where the corporation has a sole shareholder.” Id.

                                                               9
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 10 of 11 PageID #: 2120




   and violate the disciplinary rules that indicate lawyers that are necessary witnesses generally should

   not act as advocates at trial. Id. at *1. Judge Mazzat concluded as follows:

           Although a Court may not deny an applicant admission pro hac vice unless the
           applicant engaged in conduct to justify disbarment, an applicant nonetheless may not
           appear before the Court to engage in hybrid representation. Manookian and
           Cummings are both represented by counsel. Manookian, Cummings, and their
           counsel may not act as co-counsel. Long, 597 F.3d at 724. Further, Manookian and
           Cummings are defendants in the case and will be necessary fact witnesses.
           Manookian and Cummings may not seek employment as advocates in the case
           knowing that they will be necessary to establish essential facts in the case.

   Id. at *2.

           As discussed above, 28 U.S.C. § 1654 allows a party to represent himself or to be represented

   by counsel. Bigelow v. Soc. Sec. Admin., No. 2:08-CV-626, 2008 WL 4594146, at *3 (D. Utah Oct.

   9, 2008). As urged by Defendants, there is no right to the type of hybrid representation that Plaintiff

   seeks. Id.; see also Diamond Consortium, Inc. v. Manookian, et al., 2017 WL 2364039, at *1 (citing

   McCulloch v. Velez, 364 F.3d 1, 5 (1st Cir. 2004) (holding that a civil litigant “has a right to

   represent himself or to be represented by an attorney, but he cannot have it both ways. There is no

   right to hybrid representation in the federal courts”)).

           Mr. Lozada-Leoni has been represented by counsel since the inception of this case. Plaintiff

   is currently represented by Mr. Garber. Therefore, at this time, Mr. Lozada-Leoni may not act as

   co-counsel. Further, Mr. Lozada-Leoni will be a necessary fact witness in this case.7


           7
            According to Plaintiff's Second Amended Trial Witness List filed by Mr. Garber on March 24, 2020, Plaintiff
   Juan Lozada-Leoni will be called to testified at trial. The chart indicates as follows:

           He may testify that the Defendants were violating the requirements of the 2012 Deferred Prosecution
           Agreement that the Defendants signed with the Department of Justice. He may testify that the
           Defendants were violating the requirements of the 2009 Federal Trade Commission Order. He may
           testify regarding actions that Mr. Lozada took in order to help the Defendants comply with the
           requirements of the 2012 Deferred Prosecution Agreement and the 2009 Federal Trade Commission
           Order. He may testify regarding the reasons why the Defendants terminated Mr. Lozada’s
           employment. He may also testify regarding attorneys’ fees.
                                                           10
Case 4:20-cv-00068-RWS-CMC Document 85 Filed 04/16/20 Page 11 of 11 PageID #: 2121




               ABA Model Rule 3.7 provides “[a] lawyer shall not act as an advocate at a trial in which the

      lawyer is likely to be a necessary witness.” Texas Rule of Disciplinary Conduct 3.08(a) provides “[a]

      lawyer shall not accept or continue employment as an advocate before a tribunal in a contemplated

      or pending adjudicatory proceeding if the lawyer knows or believes that the lawyer is or may be a

      witness necessary to establish an essential fact on behalf of the lawyer’s client.” As recently

      explained by Judge Mazzant, Mr. Lozada-Leoni may not seek employment as an advocate in the case
  .
      knowing he will be necessary to establish essential facts in the case. See Diamond Consortium, Inc.

      v. Manookian, et al., 2017 WL 2364039, at *2. Accordingly, it is

               ORDERED that Defendants’ Objections to Plaintiff’s Application to Appear Pro Hac Vice

      (Docket Entry # 61) are SUSTAINED. Plaintiff Juan Lozada-Leoni may not appear pro hac vice in

      this matter. It is further

               ORDERED that the Clerk of the Court shall remove from the docket Plaintiff Juan Lozada-

      Leoni as counsel of record.

               SIGNED this 16th day of April, 2020.




                                                                      ____________________________________
                                                                      CAROLINE M. CRAVEN
                                                                      UNITED STATES MAGISTRATE JUDGE




      Docket Entry # 68 at p. 2. Plaintiff's Rebuttal Witness List also listed Mr. Lozada-Leoni as a "will call" rebuttal witness
      who may "rebut statements made by the Defendants' witnesses regarding" various topics. Docket Entry # 70 at pp. 2-3.

                                                                 11
